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                  EXHIBIT 3
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DATE: March 14, 2017

TO: Roku Inc.

    12980 Saratoga Avenue, Suite D

    Saratoga, California 95070

    Attn: Copyright Agent

    E-mail: copyright@roku.com

I declare UNDER PENALTY OF PERJURY that:

1. I am the owner, or an agent authorized to act on behalf of the owner, which owner's
name is

Komanda LLC and NTV America ("IP Owner"), of the following copyrighted work.

Identify, in sufficient detail, the copyrighted work that you claim has been infringed upon,
including providing any registration number or other identification, if available. Attach
applicable documents, if any.

See the following attached documents for information about Komanda LLC’s and
NTV America’s respective copyrighted works:

   •   March 13, 2017 Letter from David Guerrero Liston (the “Letter”)
   •   March 13, 2017 Affidavit from Gregory Moscow (the “Affidavit”)

2. I have a good faith belief that the content described below and being made available
to end users of the Company's products is not authorized by the IP owner, its agent, or
the law, and therefore infringes the IP Owner's rights:

Identify the content that you claim is infringing the copyright identified above.

See the attached Letter and the Affidavit.

Where does the alleged infringing material appear? Please provide sufficient
information to help us locate the content you are reporting.

The infringing materials appear on the following Roku channels: Reda
         Redacted         , INVID09, TVTEKA, DTV12, Redacted cted

See the attached Letter and Affidavit for additional information.
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Please describe how the content infringes your or the IP owner's rights (this question
may assist us with processing your claim and eliminate the potential need for follow-up
questions should your notice be unclear).

The content is infringing on Komanda LLC’s and NTV America’s respective rights
by distributing their respective copyrighted programming without authorization.

See the attached Letter and Affidavit for additional information.

Identify, if possible, information sufficient to permit the Company to notify the channel
application developer and/or service provider of the allegedly infringing content.

See Schedule 1 in the attached Letter.

3. I acknowledge that this Notice, including my contact information, may be provided to
the channel application developer and/or service provider associated with the alleged
infringing content.

4. I may be contacted as follows:

My Name: David Guerrero Liston, Esq.

My Telephone: (212) 822-0160

Company or Other IP Owner (if different from me):

Lewis Baach pllc Kaufman Middlemiss
The Chrysler Building
405 Lexington Avenue, 62nd Floor
New York, New York 10174

Email: david.liston@lewisbaach.com



Check one of the boxes below.

The information I have provided in this statement is accurate.

I agree: 

I disagree: □

Electronic or Physical Signature:

 /s David Guerrero Liston
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March 2, 2017 – Detektiv «Pasečnik» (Детектив «Пасечник») – Live Broadcast
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March 1, 2017 – Chrezvychaynoye Proisshestviye (Чрезвычайное Происшествие) – Archived
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